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 7

 8                            IN THE UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  ) CASE NO. 2:07-CR-00314 LKK
                                                )
12               Plaintiff,                     )
                                                )
13       v.                                     ) ORDER CONTINUING STATUS
                                                ) CONFERENCE
14   JOSE LUIS MORALES, et al.,                 )
                                                )
15               Defendant.                     )
                                                )
16                                              )
17

18         The parties appeared before the Court on January 14, 2014, in the above-entitled
19   case. At that time, based upon the representations and agreement of both counsel, the
20   Court ordered that the status conference set for January 14, 2014 at 9:15 a.m., be
21   continued to April 15, 2014 at 9:15 a.m., and that the time beginning January 14, 2014,
22   extending through April 15, 2014, was excluded from the calculation of time under the
23   Speedy Trial Act. The exclusion of time is appropriate due to defense counsel’s need to
24   prepare, and for continuity of counsel. The additional time is necessary to ensure defense
25   counsel’s effective preparation, taking into account the exercise of due diligence. 18 U.S.C.
26   § 3161(h)(7)(B)(iv); Local Code T4.
27         ACCORDINGLY, it is hereby ordered that the status conference set for January 14,
28
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 1   2014 at 9:15 a.m., be continued to April 15, 2014 at 9:15 a.m., and that the time beginning
 2   January 14, 2014, and extending through April 15, 2014, be excluded from the calculation
 3   of time under the Speedy Trial Act. The Court finds that the interests of justice served by
 4   granting this continuance outweigh the best interests of the public and the defendant in a
 5   speedy trial. 18 U.S.C. § 3161(h)(7)(A).
 6         IT IS SO ORDERED.
 7   Dated: January 21, 2014
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                                                                              Order after Hearing
                                                  2                        2:07-CR-00314 LKK
